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                          UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF OHIO
                                EASTERN DIVISION



IN RE FORECLOSURE CASES                      )       CASE NO. NO.1:07CV2282
                                             )                     07CV2532
                                             )                     07CV2560
                                             )                     07CV2602
                                             )                     07CV2631
                                             )                     07CV2638
                                             )                     07CV2681
                                             )                     07CV2695
                                             )                     07CV2920
                                             )                     07CV2930
                                             )                     07CV2949
                                             )                     07CV2950
                                             )                     07CV3000
                                             )                     07CV3029
                                             )
                                             )       JUDGE CHRISTOPHER A. BOYKO
                                             )
                                             )
                                             )
                                             )       OPINION AND ORDER
                                             )
                                             )



CHRISTOPHER A. BOYKO, J.:

       On October 10, 2007, this Court issued an Order requiring Plaintiff-Lenders in a

number of pending foreclosure cases to file a copy of the executed Assignment demonstrating

Plaintiff was the holder and owner of the Note and Mortgage as of the date the Complaint

was filed, or the Court would enter a dismissal. After considering the submissions, along

with all the documents filed of record, the Court dismisses the captioned cases without

prejudice. The Court has reached today’s determination after a thorough review of all the

relevant law and the briefs and arguments recently presented by the parties, including oral
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arguments heard on Plaintiff Deutsche Bank’s Motion for Reconsideration. The decision,

therefore, is applicable from this date forward, and shall not have retroactive effect.

                          LAW AND ANALYSIS

       A party seeking to bring a case into federal court on grounds of diversity carries the

burden of establishing diversity jurisdiction. Coyne v. American Tobacco Company, 183 F.

3d 488 (6th Cir. 1999). Further, the plaintiff “bears the burden of demonstrating standing and

must plead its components with specificity.” Coyne, 183 F. 3d at 494; Valley Forge Christian

College v. Americans United for Separation of Church & State, Inc., 454 U.S. 464 (1982).

The minimum constitutional requirements for standing are: proof of injury in fact, causation,

and redressability. Valley Forge, 454 U.S. at 472. In addition, “the plaintiff must be a proper

proponent, and the action a proper vehicle, to vindicate the rights asserted.” Coyne, 183 F. 3d

at 494 (quoting Pestrak v. Ohio Elections Comm’n, 926 F. 2d 573, 576 (6th Cir. 1991)). To

satisfy the requirements of Article III of the United States Constitution, the plaintiff must

show he has personally suffered some actual injury as a result of the illegal conduct of the

defendant. (Emphasis added). Coyne, 183 F. 3d at 494; Valley Forge, 454 U.S. at 472.

       In each of the above-captioned Complaints, the named Plaintiff alleges it is the holder

and owner of the Note and Mortgage. However, the attached Note and Mortgage identify the

mortgagee and promisee as the original lending institution — one other than the named

Plaintiff. Further, the Preliminary Judicial Report attached as an exhibit to the Complaint

makes no reference to the named Plaintiff in the recorded chain of title/interest. The Court’s

Amended General Order No. 2006-16 requires Plaintiff to submit an affidavit along with the

Complaint, which identifies Plaintiff either as the original mortgage holder, or as an assignee,


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trustee or successor-in-interest. Once again, the affidavits submitted in all these cases recite

the averment that Plaintiff is the owner of the Note and Mortgage, without any mention of an

assignment or trust or successor interest. Consequently, the very filings and submissions of

the Plaintiff create a conflict. In every instance, then, Plaintiff has not satisfied its burden of

demonstrating standing at the time of the filing of the Complaint.

        Understandably, the Court requested clarification by requiring each Plaintiff to submit

a copy of the Assignment of the Note and Mortgage, executed as of the date of the

Foreclosure Complaint. In the above-captioned cases, none of the Assignments show the

named Plaintiff to be the owner of the rights, title and interest under the Mortgage at issue as

of the date of the Foreclosure Complaint. The Assignments, in every instance, express a

present intent to convey all rights, title and interest in the Mortgage and the accompanying

Note to the Plaintiff named in the caption of the Foreclosure Complaint upon receipt of

sufficient consideration on the date the Assignment was signed and notarized. Further, the

Assignment documents are all prepared by counsel for the named Plaintiffs. These proffered

documents belie Plaintiffs’ assertion they own the Note and Mortgage by means of a purchase

which pre-dated the Complaint by days, months or years.

        Plaintiff-Lenders shall take note, furthermore, that prior to the issuance of its October

10, 2007 Order, the Court considered the principles of “real party in interest,” and examined

Fed. R. Civ. P. 17 — “Parties Plaintiff and Defendant; Capacity” and its associated

Commentary. The Rule is not apropos to the situation raised by these Foreclosure

Complaints. The Rule’s Commentary offers this explanation: “The provision should not be

misunderstood or distorted. It is intended to prevent forfeiture when determination of the


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proper party to sue is difficult or when an understandable mistake has been made. ... It is, in

cases of this sort, intended to insure against forfeiture and injustice ...” Plaintiff-Lenders do

not allege mistake or that a party cannot be identified. Nor will Plaintiff-Lenders suffer

forfeiture or injustice by the dismissal of these defective complaints otherwise than on the

merits.

           Moreover, this Court is obligated to carefully scrutinize all filings and pleadings in

foreclosure actions, since the unique nature of real property requires contracts and

transactions concerning real property to be in writing. R.C. § 1335.04. Ohio law holds that

when a mortgage is assigned, moreover, the assignment is subject to the recording

requirements of R.C. § 5301.25. Creager v. Anderson (1934), 16 Ohio Law Abs. 400

(interpreting the former statute, G.C. § 8543). “Thus, with regards to real property, before an

entity assigned an interest in that property would be entitled to receive a distribution from the

sale of the property, their interest therein must have been recorded in accordance with Ohio

law.” In re Ochmanek, 266 B.R. 114, 120 (Bkrtcy.N.D. Ohio 2000) (citing Pinney v.

Merchants’ National Bank of Defiance, 71 Ohio St. 173, 177 (1904).1

           This Court acknowledges the right of banks, holding valid mortgages, to receive

timely payments. And, if they do not receive timely payments, banks have the right to

properly file actions on the defaulted notes — seeking foreclosure on the property securing

the notes. Yet, this Court possesses the independent obligations to preserve the judicial

integrity of the federal court and to jealously guard federal jurisdiction. Neither the fluidity of



1
    Astoundingly, counsel at oral argument stated that his client, the purchaser from the original mortgagee,
    acquired complete legal and equitable interest in land when money changed hands, even before the
    purchase agreement, let alone a proper assignment, made its way into his client’s possession.

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the secondary mortgage market, nor monetary or economic considerations of the parties, nor

the convenience of the litigants supersede those obligations.

         Despite Plaintiffs’ counsel’s belief that “there appears to be some level of

disagreement and/or misunderstanding amongst professionals, borrowers, attorneys and

members of the judiciary,” the Court does not require instruction and is not operating under

any misapprehension. The “real party in interest” rule, to which the Plaintiff-Lenders

continually refer in their responses or motions, is clearly comprehended by the Court and is

not intended to assist banks in avoiding traditional federal diversity requirements.2 Unlike

Ohio State law and procedure, as Plaintiffs perceive it, the federal judicial system need not,

and will not, be “forgiving in this regard.”3

2

Plaintiff’s reliance on Ohio’s “real party in interest rule” (ORCP 17) and on any Ohio case citations is
misplaced. Although Ohio law guides federal courts on substantive issues, state procedural law cannot be
used to explain, modify or contradict a federal rule of procedure, which purpose is clearly spelled out in
the Commentary. “In federal diversity actions, state law governs substantive issues and federal law
 governs procedural issues.” Erie R.R. Co. v. Tompkins, 304 U.S. 63 (1938); Legg v. Chopra, 286 F. 3d
286, 289 (6th Cir. 2002); Gafford v. General Electric Company, 997 F. 2d 150, 165-6 (6th Cir. 1993).

3

Plaintiff’s, “Judge, you just don’t understand how things work,” argument reveals a condescending
mindset and quasi-monopolistic system where financial institutions have traditionally controlled, and still
 control, the foreclosure process. Typically, the homeowner who finds himself/herself in financial straits,
 fails to make the required mortgage payments and faces a foreclosure suit, is not interested in testing state
  or federal jurisdictional requirements, either pro se or through counsel. Their focus is either, “how do I
 save my home,” or “if I have to give it up, I’ll simply leave and find somewhere else to live.”
          In the meantime, the financial institutions or successors/assignees rush to foreclose, obtain a
default judgment and then sit on the deed, avoiding responsibility for maintaining the property while
reaping the financial benefits of interest running on a judgment. The financial institutions know the law
charges the one with title (still the homeowner) with maintaining the property.
          There is no doubt every decision made by a financial institution in the foreclosure process is
driven by money. And the legal work which flows from winning the financial institution’s favor is highly
 lucrative. There is nothing improper or wrong with financial institutions or law firms making a profit —
  to the contrary , they should be rewarded for sound business and legal practices. However, unchallenged
  by underfinanced opponents, the institutions worry less about jurisdictional requirements and more about
  maximizing returns. Unlike the focus of financial institutions, the federal courts must act as gatekeepers,
  assuring that only those who meet diversity and standing requirements are allowed to pass through.
  Counsel for the institutions are not without legal argument to support their position, but their
   arguments fall woefully short of justifying their premature filings, and utterly fail to satisfy their standing

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                                    CONCLUSION

         For all the foregoing reasons, the above-captioned Foreclosure Complaints are

dismissed without prejudice.

         IT IS SO ORDERED.

         DATE: October 31, 2007


                                             S/Christopher A. Boyko
                                             CHRISTOPHER A. BOYKO
                                             United States District Judge




and jurisdictional burdens. The institutions seem to adopt the attitude that since they have been doing this
for so long, unchallenged, this practice equates with legal compliance. Finally put to the test, their weak
legal arguments compel the Court to stop them at the gate.
          The Court will illustrate in simple terms its decision: “Fluidity of the market” — “X” dollars,
“contractual arrangements between institutions and counsel” — “X” dollars, “purchasing mortgages in
 bulk and securitizing” — “X” dollars, “rush to file, slow to record after judgment” — “X” dollars,
  “the jurisdictional integrity of United States District Court” — “Priceless.”

                                                        -6-
